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                           UNITED STATES DISTRICT COURT
 5
                          WESTERN DISTRICT OF WASHINGTON
                                    AT SEATTLE
 6

 7    DEVAS MULTIMEDIA PRIVATE
      LTD.,
 8
                            Petitioner,
                                                     C18-1360 TSZ
 9
           v.
                                                     MINUTE ORDER
10
      ANTRIX CORP. LTD.,
11
                            Respondent.
12
        The following Minute Order is made by direction of the Court, the Honorable
13 Thomas S. Zilly, United States District Judge:

14        (1)    The Court SETS a telephone conference call for today, Tuesday, February
   23, 2021, at 4:00 p.m. The Court’s staff will be in contact with counsel to provide a
15 conference call number and access code. The parties should be prepared to discuss
   whether the Court “lacks authority to grant [the pending motion(s)] because of an appeal
16 that has been docketed and is pending.” Fed. R. Civ. P. 62.1; see also Fed. R. App. P.
   12.1(a).
17
          (2)    The Clerk is directed to send a copy of this Minute Order to all counsel of
18 record.
           Dated this 23rd day of February, 2021.
19

20                                                  William M. McCool
                                                    Clerk
21
                                                    s/Gail Glass
22                                                  Deputy Clerk
23

     MINUTE ORDER - 1
